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 7

 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                            )   Case No. 17-CR-00188-LJO-SKO
12                                                        )
                                    Plaintiff,            )   ORDER RE: STIPLULATION TO
13                                                        )   MODIFY CONDITIONS OF
                              v.                          )   RELEASE
14                                                        )
     WILLIAM JAMES FARBER,                                )
15                                                        )
                                    Defendant.            )
16                                                        )
17           Upon stipulation by the parties to modify the conditions of pretrial release for defendant
18   WILLIAM JAMES FARBER, and upon finding good cause, it is hereby ORDERED that:
19        Defendant William James Farber’s conditions of pretrial release as identified in the Court’s
20   Order Setting Conditions of Release (Dkt. 47) be modified to add the following condition:
21              “You must participate in a program of medical or psychiatric treatment,
22              including treatment for drug or alcohol dependency, as approved by the pretrial
23              services officer; and you must pay all or part of the costs of the counseling
24              services based upon your ability to pay, as determined by the pretrial services
25              officer.”
26   All other pretrial release conditions are to remain the same.
27   //
28   //



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 1   IT IS SO ORDERED.
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     Dated:   May 16, 2019
 3                                             UNITED STATES MAGISTRATE JUDGE
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